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             5
               Attorneys for Defendant Chapman
             6 University
             7
             8                        UNITED STATES DISTRICT COURT
             9         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
           10
           11 JOHN C. EASTMAN,                              Case No. 8:22-cv-00099-DOC-DFM
              c/o Burnham & Gorokhov, PLLC
           12 1424 K Street NW, Suite 500                   DEFENDANT CHAPMAN
              Washington, D.C. 20005,                       UNIVERSITY’S REQUEST TO
           13                                               APPEAR VIRTUALLY AT THE
                           Plaintiff,                       JANUARY 31, 2022 STATUS
           14                                               CONFERENCE
                     v.
           15                                               Date:            January 31, 2022
              BENNIE G. THOMPSON, in his                    Time:            2:00 p.m.
           16 official capacity as Chairman of the
              House Select Committee to Investigate         Judge:            Hon. David O. Carter
           17 the January 6 Attack on the United            Magistrate Judge: Hon. Douglas F.
              States Capitol; Rayburn House Office          McCormick
           18 Building, 2466, Washington, DC 20515          Crtrm.:           9D
                                                            Trial Date:       not set
           19 SELECT COMMITTEE TO
              INVESTIGATE THE JANUARY 6TH
           20 ATTACK ON THE UNITED STATES
              CAPITOL
           21
              CHAPMAN UNIVERSITY, 1
           22 University Dr. Orange, CA 92866,
           23                 Defendants.
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  PAUL, PLEVIN,
   SULLIVAN &     DEFENDANT CHAPMAN UNIVERSITY’S REQUEST TO APPEAR VIRTUALLY AT THE JANUARY 31, 2022
CONNAUGHTON LLP                                 STATUS CONFERENCE
        Case 8:22-cv-00099-DOC-DFM Document 46 Filed 01/26/22 Page 2 of 2 Page ID #:509




             1          TO THE COURT AND THE PARTIES OF RECORD:
             2          Fred M. Plevin, counsel for Defendant Chapman University, respectfully
             3 requests to appear virtually at the Status Conference currently set for January 31,
             4 2022 at 2:00 p.m.
             5          I submit this request to the Court based on the following: I had a total knee
             6 replacement operation on December 13, 2021. I am unable to sit in a static position
             7 for long periods of time, which will make it very difficult for me to drive from my
             8 home in San Diego to Santa Ana. I also have difficulty walking far distances (such
             9 as from parking to the courthouse and within the courthouse).
           10                                       Respectfully Submitted,
           11 Dated: January 26, 2022                PAUL, PLEVIN, SULLIVAN &
                                                     CONNAUGHTON LLP
           12
           13
                                                     By:         /s/ Fred M. Plevin
           14
                                                           FRED M. PLEVIN
           15                                              Attorneys for Defendant Chapman
           16                                              University

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  PAUL, PLEVIN,
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   SULLIVAN &     DEFENDANT CHAPMAN UNIVERSITY’S REQUEST TO APPEAR VIRTUALLY AT THE JANUARY 31, 2022
CONNAUGHTON LLP                                 STATUS CONFERENCE
